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                               MINUTES OF THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA

                                                    VS
                     USA                                                    Raymond Liddy
Case Number:        19cr1685-CAB                  EXHIBIT LIST                      Bench Trial


☒       Plaintiff    ☐      Defendant     ☐       Court

    No.             Date I.D.       Date Rec’vd                           Description
    1               2/3/2020         2/3/2020                Recording of Raymond Liddy Interview
    2               2/3/2020         2/3/2020        Transcript of Raymond Liddy Interview (Demonstrative)
    3               2/3/2020         2/3/2020                 Search Warrant Photo – Home Office
    4               2/3/2020         2/3/2020                     Search Warrant Photo – Tower
    5               2/3/2020         2/3/2020                 Search Warrant Photo – Desk Drawer
    6               2/3/2020         2/3/2020             Search Warrant Photo – External Hard Drive
    7               2/3/2020         2/3/2020                     Search Warrant Photo – Office
    8               2/3/2020         2/3/2020                     Search Warrant Photo – Office
    9               2/3/2020         2/3/2020                          Stipulated Image 1
    10              2/3/2020         2/3/2020                          Stipulated Image 2
    11              2/3/2020         2/3/2020                          Stipulated Image 3
    12              2/3/2020         2/3/2020                               Image 3a
    13              2/3/2020         2/3/2020                          Stipulated Image 4
    14              2/3/2020         2/3/2020                               Image 4a
    15              2/3/2020         2/3/2020                          Stipulated Image 5
    16              2/3/2020         2/3/2020                               Image 5a
    17              2/3/2020         2/3/2020                          Stipulated Image 6
    18              2/3/2020         2/3/2020                          Stipulated Image 7
    19              2/3/2020         2/3/2020                          Stipulated Image 8
    20              2/3/2020         2/3/2020                          Stipulated Image 9
    21              2/3/2020         2/3/2020                          Stipulated Image 10
    22              2/3/2020         2/3/2020                       Filed Stipulation of Facts
    23              2/3/2020         2/3/2020                         Search Warrant Photo

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                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                             VS
                  USA                                              Raymond Liddy
Case Number:     19cr1685-CAB             EXHIBIT LIST                    Bench Trial


☒    Plaintiff    ☐     Defendant     ☐    Court

    24           2/5/2020                     Screen Captures from Roloff’s Examination of Devices
    25           2/5/2020                                    Notes of Josiah Roloff




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